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           EXHIBIT 1
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                                       Exhibit Page 2 of 23
                                           Shahan Ohanessian
                                1328 Doverwood Drive • Glendale, CA 91207
                                  shahan.oh@gmail.com • (818) 400-0338


                                              October 18, 2019


 VIA EMAIL

 George Voskanian
 Scott A. Sheikh
 Scoobeez Global, Inc.
 3463 Foothill Blvd
 Glendale, CA 91214
 George@Scoobeez.com
 Scott@Scoobeez.com

           Re:     Notice of Special Meeting of Shareholders of Scoobeez Global, Inc.

         The undersigned, being the record owner of 150,000,000 shares of common stock and
 18,400,000 shares of Series A preferred stock and representing more than 20% of the voting power of
 Scoobeez Global, Inc., an Idaho corporation, (“Scoobeez Global”) hereby demands that a special meeting
 of the shareholders of Scoobeez Global be called and noticed within 15 days of this demand for the
 purposes of discussing:

       •   The sale of Scoobeez Global or any of its assets, including, but not limited to, Scoobeez, a
           California corporation, and Scoobur LLC, a California limited liability company.
       •   Actions necessary to preserve relationships with Amazon.com and its affiliated companies.
       •   Failure to hold an annual meeting as required by the bylaws.
       •   The conduct of the current Board of Directors, including, but not limited to, consequences for
           such conduct.

 Sincerely,


 Shahan Ohanessian

 cc:       John Simon
           Ashley M. McDow
           FOLEY & LARDNER LLP
           555 S Flower St 33rd Fl
           Los Angeles, CA 90071
           jsimon@foley.com
           amcdow@foley.com

           Howard Grobstein
           6300 Canoga Ave Ste 1500W
           Woodland Hills 91367
           hgrobstein@gtllp.com
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                                  Exhibit Page 3 of 23
                                      Shahan Ohanessian
                           1328 Doverwood Drive • Glendale, CA 91207
                             shahan.oh@gmail.com • (818) 400-0338


       Brian Weiss
       20341 SW Birch St Ste 220
       Newport Beach, CA 92660
       bweiss@force10partners.com

       Daniel W. Harrow
       D.W. Harrow and Associates
       Dallas Fortworth
       (Please provide email address for Mr. Harrow)
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           EXHIBIT 2
               Case 2:19-bk-14989-WB                  Doc 461-1 Filed 11/26/19 Entered 11/26/19 12:47:34                    Desc
   11/20/2019                                               Exhibit Mail
                                                                     Page- Rick5Saum
                                                                                 of 23
                                                                                     - Outlook



             FW: ShareHolders Meeting

             Jeffrey Shinbrot <jeffrey@shinbrotfirm.com>
             Wed 11/20/2019 9:03 AM
             To: Rick Baum <rickbaum@hotmail.com>




             From: Brian Weiss <bweiss@force10gartners.com>
            Sent: Wednesday, October 23, 2019 11:58 AM
            To: Shahan Ohanessian <shahan.oh@gmail.com>
            Cc: George Voskanian <g§Q[g~@scoobeez.com>; Scott A. Sheikh <scott@scoobeez.com>; Ashley McDow
            <amcdow@foley.com>; JSimon@foley:.com; Jeffrey Shinbrot <jeffrey_@shinbrotfirm.com>
            Subject: Re: ShareHolders Meeting


            Shahan,

            My legal counsel has been provided a copy of your request. They are perf0n11ing some research and will
            revert back to me shortly. We will provide you with a response after this occurs.

            Regards,                 [EXHIBIT 2]
            Brian

            On Wed, Oct 23,2019,11:54 AM Shahan Ohanessian <shahan.oh@gmaiLcom>wrote:

                I am following up on the email below. I have 110t received any response from any of you. Please let me
                know where is the meeting going to be held and if you have given notice to the rest of the shareholders
                or not. Should not hear from you by the end of the day tomon-ow October 24th, 2019, I will assume
                you are going to ignore the notice and I will take appropriate action and will hold all ofthe officers and
                the board members accountable for this conduct.


                Shahan Ohanessian



               > On FridayOctober 18, 2019, at FridayS :48 PM, Shahan Ohanessian <shahan.oh@gmail.com> wrote:
               >
               > Please take notice for the meeting below and let me know the time and place where this meeting will
               be held.
               >
               > <Demand for Special Meeting - Scoobeez Global 10-18-19 .pdf>
               >
               >
               > Shahan Ohanessian
               >


          This message is for the named person's use only. It may contain confidential,
          proprietary or legally privileged information. No~onfidentiality or privilege is
          waived or lost by any mistransmission. If you receive this message in error, please
          immediately delete it and all copies of it from your system, destroy any hard copies
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           EXHIBIT 3
               Case 2:19-bk-14989-WB                  Doc 461-1 Filed 11/26/19 Entered 11/26/19 12:47:34                    Desc
   11/20/2019                                               Exhibit Mail
                                                                     Page- Rick7Saum
                                                                                 of 23
                                                                                     - Outlook



             FW: ShareHolders Meeting

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            To: Shahan Ohanessian <shahan.oh@gmail.com>
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            <amcdow@foley.com>; JSimon@foley:.com; Jeffrey Shinbrot <jeffrey_@shinbrotfirm.com>
            Subject: Re: ShareHolders Meeting
                                                                  [EXHIBIT 3]
            Shahan,

            My legal counsel has been provided a copy of your request. They are perf0n11ing some research and will
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            Regards,
            Brian

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                Shahan Ohanessian



               > On FridayOctober 18, 2019, at FridayS :48 PM, Shahan Ohanessian <shahan.oh@gmail.com> wrote:
               >
               > Please take notice for the meeting below and let me know the time and place where this meeting will
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               >
               >
               > Shahan Ohanessian
               >


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          waived or lost by any mistransmission. If you receive this message in error, please
          immediately delete it and all copies of it from your system, destroy any hard copies
          of it and notify the sender. You must not, directly or indirectly, use, disclose,
          distribute, print, or copy any part of this message if you are not the intended
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           EXHIBIT 4
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                                      Exhibit Page 9 of 23

                                          Shahan Ohanessian
                               1328 Doverwood Drive • Glendale, CA 91207
                                 shahan.oh@gmail.com • (818) 400-0338



                                             October 29, 2019



  VIA FEDEX OVERNIGHT, U.S. MAIL AND EMAIL

 George Voskanian                                     John Simon
 Scott A. Sheikh                                      Ashley M. McDow
 SCbobeez Global, Inc.                                 Foley & Lardner LLP
 3463 Foothill Blvd                                   555 S Flower St 33rd FI
 Glendale, CA 91214                                   Los Angeles, CA 90071
 scott@scoobeez.com                                   jsimon@foley.com
 george@scoobeez.com                                  amcdow@foley.com

 Howard Grobstein                                     Brian Weiss
 6300 Canoga Ave Ste 1500W                            20341 SW Birch St Ste 220
 Woodland Hills 91367                                 Newport Beach, CA 92660
 hgrobstein@gtllp.com                                 bweiss@forcel0partners.com .

 I have request the rest of the boards information
 several times so we can contact them and you
 have ignored these request. Please make sure all
 of the board members are provided this notice.

         Re:     Special Meeting of Shareholders of Scoobeez Global, Inc.
                 Date and Time: November 1,2019 at 1:00 P.M. PST

 Dear All:

           As you know, on October 18,2019, I demanded that Messrs. Voskanian and Sheikh call a Special,
 Meeting ofthe Shareholders of Scoobeez Global, Inc., an Idaho corporation, (IIScoobeez Global"or the
 IICompany"), to discuss the following issues: (1) the sale of Scoobeez Global or any of its assets,
 including, but not limited to, Scoobeez, a California corporation, and Scoobur LLC, a.California limited .'
 liability company; (2) actions necessary to preserve relationships with Amazon.com and its affiliated
 companies; (3) failure to hold an annual meeting as required by the bylaws; and (4) the .conduct of the'
 current Board of Directors, including, but not limited to, consequences for such conduct. My demand
 was sent to all of you.

           On October 23,2019, I sent an email in an attempt to follow up on my October 18, 2019
 demand that a special meeting be called. That same day, I received a response from Mr. Weiss that his
 Illegal counsel ... are performing some research" and that a response would be IIprovide[dl after this
 occurs." However, I have not heard back from Mr. Weiss.

         On October 24,2019, I spoke with Ashley McDow, Scoobeez Global's bankruptcy counsel, who
informed me that revenues were down about 40% because Amazon has reduced the routes drastically
and will likely cut more routes within days. I informed Ms. McDow that this was likely a result of poor
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  October 29, 2019
  Page 2

   management by the current officers and directors of the Company. As many of you know, when I was in
  control, the Company enjoyed a very prosperous relationship with Amazon. Ms. McDow also indicated
  that Amazon was willing to cancel its contracts with Scoobeez Global in exchange for $1.1 million. The
  relationship with Amazon is worth many times that. Rather than attempt to salvage the relationship,
  Ms. McDow filed a lawsuit against Amazon the following day. During our call, Ms. McDow mentioned
  that she was recommending that the sale motion be withdrawn and that she had even drafted a board
  resolution for it. I also asked Ms. McDow when the Special Meeting of Shareholders would be called,
  pursuant to my demand, she told me that she had to send a memo to Mr. Weiss about it, but offered no
  further information.

        On October 25,2019, I sent yet another follow-up email to all of you, following up on my
  demand for a special meeting of the shareholders. That email was also ignored.

          I have not heard .back from any of you regarding my demand. I am seriously concerned about
 the ongoing viability of the Company and your actions that are seriously jeopardizing the Company's· .
 relationship with its main customer Amazon.com, db not benefit the Company, its shareholders or its
 creditors. Since you have failed to notice a meeting, as the record owner of 150,000,000 shares of
 common stock and 18AOO,OOO shares of Series. A preferred stock and representing the majority of the
 voting power of Scoobeez Global, I am calling a Special Meeting of the Shareholders to be held at 12:00· .
 p.m. PST on November 1, 2019 at the Company's principal offices, located at 3463 Foothill Boulevard,
 Glendale, California 91214. You are hereby requested to give notice to the remaining shareholders,
 whose contact information I do not have since my access to the Company's information has been
 revoked.

          As I already indicated, the purpose of the meeting shall be to discuss the following issues: (1) the
 sale of Scoobeez Global or any of its assets, including, but not limited to, Scoobeez, a California
 corporation, and Scoobur LLC, a California limited liability company; (2) actions necessary to preserve
 relationships with Amazon.com and its affiliated companies; (3) failure to hold an annual meeting as
 required by the bylaws; and (4) the conduct of the current Board of Directors, including, but not limited
 to, consequences for such conduct.

 Sincerely,



 ~.
 Shahan Ohanessian
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           EXHIBIT 5
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           EXHIBIT 6
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           EXHIBIT 7
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           EXHIBIT 8
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